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                          U NITED S TATES C OURT OF A PPEALS
                               FOR THE F OURTH C IRCUIT


                                          No. 23-4339


                              U NITED S TATES OF A MERICA ,
                                            Appellee,
                                                v.

                          C HRISTOPHER W ILLIAM K UEHNER ,
                                           Appellant.


                           Appeal from the United States District Court
                               for the Eastern District of Virginia
                                          at Alexandria
                        The Honorable Leonie M. Brinkema, District Judge


                        S UPPLEMENTAL B RIEF OF THE U NITED S TATES


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                                             Argument

              Christopher Kuehner was found guilty at a bench trial of one count of

        engaging in a child exploitation enterprise, in violation of 18 U.S.C.

        § 2252A(g)(2). Section 2252A defines a child exploitation enterprise as follows:

              A person engages in a child exploitation enterprise for the purposes of
              this section if the person violates section 1591, section 1201 if the
              victim is a minor, or chapter 109A (involving a minor victim), 110
              (except for sections 2257 and 2257A), or 117 (involving a minor
              victim), as a part of a series of felony violations constituting three or
              more separate incidents and involving more than one victim, and
              commits those offenses in concert with three or more other persons.

        18 U.S.C. § 2252A(g)(2). The Court ordered the parties to file supplemental briefs

        addressing the following question:

              In determining whether more than one victim was involved in the series
              of felony violations does 18 U.S.C. § 2252A(g)(2) allow the predicate
              violations to be considered in combination? Additionally, please
              address whether this element is satisfied.

        Doc. No. 47 at 1.

              The text, structure, and purpose of the statute confirm that the government

        can prove that the child exploitation enterprise involved “more than one victim” by

        proving that the entire “series of felony violations” involved more than one victim.

        Because the government adduced substantial evidence at trial that Kuehner’s

        predicate violations involved multiple victims, the government proved this element




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        beyond a reasonable doubt.1

        I.       Section 2252A(g)(2) permits consideration of the entire “series of felony
                 violations” cumulatively to determine whether more than one victim is
                 involved in a child exploitation enterprise.

                 In determining whether a child exploitation enterprise involved “more than

        one victim,” the factfinder can consider the entire series of predicate felony

        violations. That is the only interpretation consistent with the statute’s text, with the

        unanimous weight of authority interpreting related provisions in the statute, with

        Congress’ unambiguous intent in enacting the provision, and with the principle that

        courts will not interpret statutes in a manner that leads to absurd results.

                 When engaging in statutory construction, this Court begins “with the plain

        language of the statute because when the statute’s language is plain, the sole

        function of the courts -- at least where the disposition required by the text is not

        absurd -- is to enforce it according to its terms.” United States v. Wayda, 966 F.3d



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              Kuehner never challenged the statutory interpretation or the sufficiency of the
        evidence on the requirement that the enterprise involved more than one victim,
        either in the district court or in his briefing before this Court. The argument is
        therefore waived. See Short v. Hartman, 87 F.4th 593, 615 (4th Cir. 2023) (“A
        party waives an argument by failing to present it in its opening brief or by failing
        to develop its argument—even if its brief takes a passing shot at the issue.”)
        (internal quotation marks omitted). And even if these issues are merely forfeited,
        Kuehner cannot demonstrate that any error is plain. See United States v.
        Carthorne, 726 F.3d 503, 516 (4th Cir. 2013) (“An error is plain if the settled law
        of the Supreme Court or this circuit establishes that an error has occurred.”)
        (internal quotation marks omitted).

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        294, 303 (4th Cir. 2020) (internal quotations omitted). And the language of

        § 2252A(g)(2) is indeed plain: it requires that a defendant have committed one of

        several enumerated felony violations “as a part of a series of felony violations

        constituting three or more separate incidents and involving more than one victim.”

        Under the plain language of the statute, the phrases “constituting three or more

        separate incidents” and “involving more than one victim” modify “a series of

        felony violations.” In other words, “involving more than one victim” is one of two

        required characteristics of the series of felony violations – not of each individual

        felony violation. Accordingly, it is the entire series of felony violations that must

        be evaluated to determine whether more than one victim is involved.

              It certainly would have been easy enough, had Congress intended otherwise,

        to instead define engaging in a child exploitation enterprise as participation in “a

        series of felony violations constituting three or more separate incidents, each

        involving more than one victim.” But Congress did not do so. This Court should

        give effect to the statute’s unambiguous language and hold that the “more than one

        victim” requirement applies to the series of felony violations collectively. See,

        e.g., United States v. Roper, 462 F.3d 336, 338 (4th Cir. 2006) (noting that “[w]hen

        called to interpret federal statutes, courts indulge a strong presumption that

        Congress expresses its intent through the language it chooses.”) (internal

        quotations omitted).


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              Additional guidance is provided by those Courts of Appeals that have

        examined the related statutory requirement that the predicate violations be

        committed “in concert with three or more other persons.” These courts have

        unanimously concluded that “the required total of three other persons may be

        tallied by considering the predicate counts together.” United States v. Daniels, 653

        F.3d 399, 412 (6th Cir. 2011); see also United States v. El-Battouty, 38 F.4th 327,

        329 (3d Cir. 2022); United States v. Grovo, 826 F.3d 1207, 1215 (9th Cir. 2016)

        (both quoting Daniels). Each court relied on the text of the statute, which makes

        clear that the “in concert with three or more other persons” requirement pertains to

        the series of felony violations as a whole. See, e.g., Grovo, 826 F.3d at 1215 (“The

        statute proscribes committing ‘a series of felony violations’ and then says the

        defendant must ‘commit those offenses’—not ‘each offense’—‘in concert with

        three or more other persons.’ The ‘in concert’ requirement is therefore best read as

        referring to the ‘series’ of predicate felonies, rather than each offense

        individually.”) (internal alterations and citations omitted). This logic applies with

        even greater force to the multiple-victim requirement, which the statute’s linguistic

        structure makes even clearer is a required characteristic of the series of felony

        violations, rather than of each individual felony violation.

              An interpretation of the multiple-victim requirement that applies the

        requirement to each felony violation is also impossible to square with Congress’


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        clearly-expressed intent in enacting § 2252A(g). Courts interpreting federal

        statutes may, in appropriate circumstances, consider Congress’ “manifest purpose”

        in having enacted such statutes. See United States v. Staten, 666 F.3d 154, 161

        (4th Cir. 2011) (citing United States v. Hayes, 555 U.S. 415, 427 (2009)); see also

        United States v. Bryant, 949 F.3d 168, 174-75 (4th Cir. 2020) (observing that a

        federal statute is not to be construed “in a vacuum,” but rather “with reference to

        its history and purpose as well”).

                 In enacting the Adam Walsh Child Protection and Safety Act of 2006,

        Section 701 of which established § 2252A(g), 2 Congress made plain that its intent

        was to establish “the best means possible to protect our Nation's most precious

        national resource: our children.” 152 Cong. Rec. S7894, S7897 (statement of Sen.

        Hatch). See also 152 Cong. Rec. H5705, H5723 (statement of Rep.

        Sensenbrenner) (noting purpose of newly-created § 2252A(g) was “to better

        protect America’s children against the growing threat of online sexual predators”).

        It simply beggars belief that a Congress so clearly motivated by the desire to

        protect children would nonetheless have enacted a provision failing to establish

        liability for large-scale child exploitation groups no matter how cruel or sadistic

        the participants’ underlying acts, no matter how coordinated or organized were the



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                Pub. L. 109-248, 120 Stat. 587, § 701 (2006).

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        abusers, no matter the number of involved perpetrators, and even no matter the

        number of children victims – so long as the minor victims were exploited

        individually rather than in groups of two or larger. An interpretation of the statute

        that fails to encompass precisely those situations in which child victims of sexual

        exploitation are confronted and abused alone by large groups of perpetrators acting

        in concert with each other is obviously contrary to Congress’ clear intent, and

        should not be adopted.

              Moreover, the contrary interpretation would have bizarre and implausible

        consequences for the interpretation of other portions of the statute. If the statute

        required proof that each predicate felony violation “involv[ed] more than one

        victim,” then the same reading would apply to the parallel phrase “constituting

        three or more separate incidents.” Yet it would be incoherent for Congress to have

        required proof that each felony violation “constitute[d] three or more separate

        incidents.” In turn, this would unavoidably raise further interpretive riddles,

        including leaving unclear the number of felony violations that must be proved in

        order to constitute a “series” (if three is instead held to be the minimum number of

        incidents comprising only a single predicate violation); as well as whether the

        multiple-victim requirement, now held to apply to each individual felony violation,

        may be satisfied by proving that multiple victims were involved in all of a




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        particular violation’s constituent incidents collectively, or only by proof that

        multiple victims were involved in each individual subsidiary incident.

              The Supreme Court and this Court have long resisted proposed

        interpretations of statutes leading to nonsensical results. “[I]n statutory

        interpretation, ‘nothing is better settled than that statutes should receive a sensible

        construction, such as will effectuate the legislative intention, and, if possible, so as

        to avoid an unjust or an absurd conclusion.’” United States v. Davis, 53 F.3d 638,

        642 (4th Cir. 1995) (quoting In re Chapman, 166 U.S. 661, 667 (1897)); see also,

        e.g., Jones v. Hendrix, 599 U.S. 465, 480 (2023) (reasoning that “[t]he illogical

        results of applying such an interpretation . . . argue strongly against the conclusion

        that Congress intended these results”) (internal quotation marks omitted). Here,

        the statute’s plain language is clear. The only sensible reading of the statute is that

        the factfinder can consider the entire “series of felony violations” in determining

        whether the violations “involv[ed] more than one victim.”

        II.   Substantial evidence established that Kuehner engaged in a child
              exploitation enterprise involving more than one victim.

              Overwhelming evidence was admitted at trial demonstrating that more than

        one victim was involved in the series of felony violations in which the appellant

        participated, more than sufficient to establish his guilt under 18 U.S.C. § 2252A(g).

        Three minor victims, each of whom was personally the victim of a predicate felony

        violation committed by appellant in the course of his participation in the child
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        exploitation enterprise, testified at trial. These included children who went by the

        Rapey.su website usernames “Bananacabana,” JA171-184; “pastel,” JA185-200,

        and “yoonji,” JA201-213.

              The evidence established that appellant directed “Bananacabana,” who was

        then 14 years old, to create videos of herself masturbating for him. JA102, SA34.

        The minor victim did as Kuehner directed, and posted the resulting CSAM videos

        with an acknowledgment that she had done so “for @nechris” (that is, for

        appellant). JA103-104, SA38. Appellant responded to this minor with

        appreciation, and later, in a different conversation with multiple other members of

        Rapey.su, Kuehner stated: “I told Banana that many of us want to see more. She

        asked to see more what. I said pussy. That’s why she posted that video and tagged

        me.” JA104, JA108, SA41.

              The trial testimony of “pastel,” who was sixteen years old at the time of the

        offense alleged in the indictment, established that in addition to having been active

        on the Rapey.su website, appellant was also present in a separate Discord server

        where several adult and minor website users congregated, and that appellant was

        one of the adult members of that server who requested images of minor users’

        genitalia. JA194. “Pastel” further testified that an “unspoken hierarchy” existed

        within that Discord server and observed that appellant occupied a “commanding

        position” in that hierarchy. JA193. She further testified that Kuehner would send


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        her pictures of his own genitals that she understood were intended to represent his

        reaction to a conversation or to pictures that “Pastel” had sent him. JA196.

                “Yoonji,” who was 17 years old at the time of the events described in the

        indictment, detailed appellant’s persistent effort to cause her to record a video of

        herself urinating and transmit it to him, including appellant’s repeated efforts to

        recruit other Rapey.su users to join him in the pressure campaign. JA114-116;

        SA50.

                The trial testimony of these three minor victims alone easily demonstrates

        that more than one victim was involved in the series of predicate felony violations.

        Nevertheless, the evidence admitted at trial went substantially farther, proving the

        involvement of numerous additional minor victims as well, including user

        “lil_lainey2.0,” a self-described “tween” who posted videos of herself

        masturbating in response to appellant’s request, JA109-110, SA68; 15-year-old

        user “Lilith,” to whom appellant gave eager advice about how to photograph

        herself masturbating, JA120; 15-year-old user “skinny.freakkkk,” who appellant

        encouraged to record herself engaging in sexual activity with her boyfriend (who

        was represented to appellant also to be a minor), because a site post containing as

        much “will be top posts up on here,” SA88; and another user of the site, 14 years

        old, as to whom appellant joined with Nathan Larson (the administrator or




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        Rapey.su) to demand the creation and transmission of another sexually explicit

        video, JA112, SA44.

              Evidence presented at trial further included, as to the latter three minor

        victims, testimony of law enforcement officers who confirmed the victims’

        existence and their ages, including through those minor victims’ birth certificates.

        JA253-260 (user “skinny.freakkkk”); JA261-267 (the last-mentioned user in the

        previous paragraph); and JA268-274 (user “Lilith”).

              Finally, additional evidence was presented at trial establishing the

        defendant’s commission of predicate violations with respect to yet additional

        minor victims. For example, with respect to user “lolicorn,” after acknowledging

        his understanding that she was 11 years old, appellant wrote, in response to another

        user’s suggestion that “lolicorn” was not sufficiently responsive to other site

        members: “Damn, just a lil’ tease.” JA130, SA95. Appellant also offered to

        engage in sexual activity with user “mang.oh,” who had described herself as 16

        years old, writing: “If you are into older guys with dad bod… Let me know. My

        god woman.” JA131, SA97.

              In sum, far more than sufficient evidence was adduced at trial to prove that

        the series of felony violations in which appellant participated involved more than

        one victim, as required to prove appellant guilty of the offense of engaging in a

        child exploitation enterprise.


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                                         Respectfully submitted,

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                                                          /s/
                                         Seth M. Schlessinger
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                                      Certificate of Compliance

              I certify that this brief was written using 14-point Times New Roman

        typeface and Microsoft Word 2016.

              I further certify that this brief does not exceed ten pages, excluding the table

        of contents, table of authorities, signature block, and this certificate.

              I understand that a material misrepresentation can result in the Court’s

        striking the brief and imposing sanctions.



                                                                /s/
                                              Seth M. Schlessinger
                                              Assistant United States Attorney




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